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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                Plaintiff,                                   Case No. 21-cv-6702-LAK


v.

PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

                Defendant.

_____________________________________ /


       SIGRID S. MCCAWLEY, pursuant to 28 U.S.C. § 1746, declares the following under

penalty of perjury:

       1.       I represent the Plaintiff, Virginia L. Giuffre, in the above-captioned matter. I

submit this declaration to confirm Plaintiff’s compliance with the Court’s order dated September

16, 2021, which directed Plaintiff to (1) cause the delivery of two executed Requests for Service

Abroad of Judicial Documents to the designated Central Authority of the United Kingdom on the

Court’s behalf and (2) serve Prince Andrew by serving his United States counsel, Andrew B.

Brettler of Lavely & Singer, PC.

       2.       Pursuant to the Court’s order, on September 17, 2021, Plaintiff’s counsel retrieved

two executed Requests for Service Abroad of Judicial Documents from the Court. Plaintiff’s

counsel then caused the Requests to be delivered to the designated Central Authority of the United

Kingdom on the Court’s behalf by FedEx, along with two requests of the Complaint, Summons,

and Civil Cover Sheet in this matter. A true and correct copy of the Requests that Plaintiff’s

counsel retrieved from the Court are attached hereto as Exhibit A and a true and correct copy of
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confirmation of the delivery of the Requests to the Central Authority is attached hereto as Exhibit

B.

       3.       Pursuant to the Court’s order, Plaintiff’s counsel also emailed copies of the

executed Requests for Service Abroad of Judicial Documents to Andrew B. Brettler, Prince

Andrew’s counsel of record in this matter. A true and correct copy of Plaintiff’s counsel’s email

to Mr. Brettler attaching copies of the executed Requests is attached hereto as Exhibit C.

       4.       Pursuant to the portion of the Court’s order granting Plaintiff’s motion for

alternative service on Prince Andrew through his United States counsel, on September 17, 2021,

Plaintiff’s counsel emailed Mr. Brettler the Summons, Complaint, and this Court’s order approving

alternative service. A true and correct copy of Plaintiff’s counsel’s email is attached hereto as

Exhibit D.

       5.       Plaintiff’s counsel also sent the Summons and Complaint to Mr. Brettler at his

office in Los Angeles, California. A true and correct copy of the FedEx delivery confirmation is

attached hereto as Exhibit E.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed: September 20, 2021                /s/ Sigrid S. McCawley
             Fort Lauderdale, FL
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                                             Counsel for Plaintiff Virginia Giuffre




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